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                          Exhibit 107
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      From: Dolan, Charles charles.dolan@kglobal.com
    Subject: Servers.com media scan
       Date: 12 January 2017 at 6:06 PM
         To: Alexey Gubarev alex@xbt.com, Nick Dvas dvas@servers.com
        Cc: Daria Pritvorova ypomoscow@gmail.com


           Gentlemen – below are links to stories

           Sputnik News
           Russian tech expert mentioned in Trump report denies allegations of intel ties
           January 1, 2017
           Author unnamed

           Raw Story
           Beyond ‘golden showers’: Here are 9 explosive claims from intel memo on Trump-
           Russia collusion
           January 11, 2017
           Travis Gettys

           Newsmax
           Tech expert in Trump documents: accusations are false
           January 11, 2017
           Cathy Burke

           McClatchyDC
           Russian tech expert named in Trump report says US intelligence never contacted him
           January 11, 2017
           Kevin Hall and Tim Johnson

           Volkskrant
           Dutch company shows up in “secret” Trump memos [translated]
           January 11, 2017
           Tom Kreling and Huib Modderkolk

           Data News
           A Dutch firm may have played a role in the pirates of the Democratic Party [translated]
           January 1, 2017
           Author unnamed

           ABOUT THE LEAK IN GENERAL

           National Review
           Why you should doubt that salacious Trump espionage memo
           January 11, 2017
           Jim Geraghty

           NBC
           Former British spy Christopher Steele prepared explosive Trump memo
           January 12, 2017
           Han Nichols and Ken Dilanian

           Wall Street Journal
           Christopher Steele, ex British intelligence officer, said to have prepared dossier on Trump
           January 11, 2017

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               y ,
         Bradley Hope, Michael Rothfeld and Alan Cullison

         Wall Street Journal
         National Intelligence Director James Clapper says agencies didn’t leak Trump dossier
         January 12, 2017
         Shane Harris

         NBC
         Donald Trump wasn’t told about unverified Russia memo, official says
         January 11, 2017
         William Arkin, Cynthia Mcfadden, Alexey Eremenko and Alexander Smith

         Slate
         Buzzfeed’s Bombshell
         January 11, 2017
         Will Oremus

         New York Times
         How a sensational, unverified dossier became a crisis for Donald Trump
         January 11, 2017
         Scott Shane, Nicholas Confessore and Matthew Rosenberg

         The Daily Beast
         Despite weak stream of proof, 4chan claims it invented the Trump golden showers story
         January 10, 2017
         Gideon Resnick and Ben Collins

         Bustle
         Did 4chan invent “golden shower” Donald Trump documents? This claim could be
         explosive
         January 11, 2017
         By Cate Carrejo

         Washington Post
         Decision to brief Trump on allegations brought a secret and unsubstantiated dossier into
         the public domain
         January 11, 2017
         Greg Miller, Ellen Nakashima and Karen DeYoung


         --
         Elliot Carter
         Account Associate

         kglobal
         public affairs + public relations


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         twitter: @ElliotCarter10




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